                               UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION - DETROIT

 IN RE:
                                                               CHAPTER 13
 Ian S. Kerr,                                                  CASE NO. 13-51561-MBM
 Heather A. Kerr,                                              JUDGE MARCI B. MCIVOR
                             DEBTORS.
 _______________________________________/

                   ORDER DISALLOWING THE PROOF OF CLAIM OF
    OCWEN LOAN SERVICING, LLC, AS SERVICING AGENT FOR THE BANK OF NEW YORK
 MELLON TRUST COMPANY, NATIONAL ASSOCIATION FKA THE BANK OF NEW YORK TRUST
 COMPANY, N.A. SUCCESSOR TO JP MORGAN CHASE BANK N.A., AS TRUSTEE FOR RASC 2002-
KS4 (PACER CLAIM NO. 3-2) AND THE PROOF OF CLAIM OF OCWEN LOAN SERVICING, LLC, AS
  SERVICING AGENT FOR THE BANK OF NEW YORK MELLON TRUST COMPANY, NATIONAL
   ASSOCIATION FKA THE BANK OF NEW YORK TRUST COMPANY, N.A. SUCCESSOR TO JP
                     MORGAN CHASE BANK N.A., AS TRUSTEE FOR
                          RASC 2002-KS4 (PACER CLAIM NO. 3-1)

        This matter came on for hearing upon the Objection to Proof of Claim filed by the Chapter 13 Standing
Trustee pursuant to L.B.R. 3007-1 (E.D.M.), the Objection having been served with the Notice of Objection to
Claim in accordance with the local bankruptcy rules, the requisite time for a response having passed, no response to
the Objection having been timely filed and served, and the Court being otherwise sufficiently advised in the
premises;

         IT IS HEREBY ORDERED that the Proof of Claim filed on behalf of Ocwen Loan Servicing, LLC, as
servicing agent for The Bank Of New York Mellon Trust Company, National Association FKA The Bank of New
York Trust Company, N.A. successor to JP Morgan Chase Bank N.A., as Trustee for RASC 2002-KS4 (PACER
Claim No. 3-2) on September 19, 2013 in the amount of $359,755.06 is disallowed

         IT IS FURTHER ORDERED that the Proof of Claim filed on behalf of Ocwen Loan Servicing, LLC, as
servicing agent for The Bank Of New York Mellon Trust Company, National Association FKA The Bank of New
York Trust Company, N.A. successor to JP Morgan Chase Bank N.A., as Trustee for RASC 2002-KS4 (PACER
Claim No. 3-1) on July 23, 2013 in the amount of $359,755.06 is disallowed;

         IT IS HEREBY FURTHER ORDERED that to the extent that the Chapter 13 Standing Trustee has
previously made disbursements to such Creditor, the Trustee shall not be obligated to recoup the same.

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Signed on January 17, 2014




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